                           Case 4:22-cr-02775-JGZ-BGM  Document
                                                  CRIMINAL      1 Filed 12/05/22 Page 1 of 1
                                                           COMPLAINT
                                                                     (Submitted electronically)
                                                                                                  DISTRICT of ARIZONA
                          United States District Court
                                      United States of America                                    DOCKET NO.

                                                 v.
                                                                                                  MAGISTRATE'S CASE NO.
                                     Gerardo Hernandez
                                DOB: 1982; United States Citizen
                                                                                                   22-00746MJ
                  Complaint for violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)(vi)
COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:
On or about December 4, 2022, at or near Nogales, in the District of Arizona, Gerardo Hernandez did knowingly
and intentionally possess with intent to distribute 400 grams or more of a mixture or substance containing a detectable
amount of fentanyl, a Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)
and 841(b)(1)(A)(vi).
BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:



On December 4, 2022, Gerardo Hernandez entered the United States from the Republic of Mexico through the
vehicle lanes of the Mariposa Port of Entry in Nogales, Arizona. Hernandez was the passenger in a 2001 Dodge
Caravan, owned and driven by another person. The Customs and Border Protection O fficer (CBPO) took a binding
negative declaration from Hernandez and the driver.
In post-primary, a Z-Portal x-ray scan of the vehicle revealed anomalies consistent with drug packaging in the front
and back seats. In further inspection of the front and back seats, CBPOs discovered 43 packages of suspected
narcotics. A representative sample of the contents of the packages tested positive for the characteristics of fentanyl.
The fentanyl had total weight of 49.9 kilograms.
In a post-Miranda statement, Hernandez stated that he was recruited by an unnamed individual on Facebook to make
some money in Mexico. Hernandez stated he arrived in Mexico with the driver and left the driver at her mother’s
house while he went to a grocery store on the west side of Nogales, Sonora, Mexico. At the store, Hernandez stated
that he met an unnamed individual who took the vehicle for an unknown amount of time and then returned it back to
the grocery store. Hernandez stated he wasn’t sure what they had put inside his vehicle, but he stated he knew
whatever it was, it was illegal. Hernandez stated he was going to be paid $5,000 for taking the vehicle north.
Hernandez stated he figured it was “bud” or “meth” or maybe currency. Hernandez stated this was his idea solely
and that the driver had no idea he was using her vehicle to smuggle contraband.




MATERIAL WITNESSES IN RELATION TO THE CHARGE:
REQUEST DETENTION                                                                                 SIGNATURE OF COMPLAINANT

     Being duly sworn, I declare that the foregoing is
    true and correct to the best of my knowledge.
                                                                                                  OFFICIAL TITLE
                                                                                                  SA Jason Cary
                                                                                                  Homeland Security Investigations
  Sworn to telephonically.
SIGNATURE OF MAGISTRATE JUDGE1)                                                                   DATE
                                                                                                  December 5, 2022
  1)   See Federal rules of Criminal Procedure Rules 3, 4.1 and 54
Reviewed by AUSA: Price
